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 5                         UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA
 6

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 8
     UNITED STATES OF AMERICA
 9                                                   ) Case No.: CR S-08-090- EJG
              Plaintiff,                             ) STIPULATION AND ORDER
10                                                   )
            vs.                                      ) CONTINUING STATUS
11                                                   ) CONFERENCE AND EXCLUDING
     LUCIANO PORCAYO, et. al.,                       )
12                                                   ) TIME
                    Defendants.                      )
13                                                   )
14

15
                                            Stipulation
16

17
            The government and the defendant, Luciano Porcayo, through undersigned counsel
18
     stipulate that the status conference/change of plea hearing scheduled for July 10, 2009, at 10:00
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     a.m. may be continued for a status conference with the remaining defendants in this case to July
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     17, 2009, at 10:00 a.m. At the last hearing on June 5, 2009, undersigned counsel represented to
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     the Court they were involved in plea negotiations and anticipated a change of plea for July 10,
22
     2009. Undersigned counsel are involved in plea negotiations but require additional time to
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     consult with the case agents and the defendant to be able to effectuate a change of plea. This
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     includes agreeing on amounts for restitution and resolving the issue of criminal forfeiture. The
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     intent of the parties is to place Mr. Porcayo on calendar with the remaining defendants on July 17
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     for a status conference and to specially set the matter when plea negotiations are concluded.
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            The parties also agree that time may be excluded from the speedy trial calculation for
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     counsel preparation, and complexity, and that the interests of justice served by granting the



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 1   continuance outweigh the best interests of the public and the defendant in a speedy trial, pursuant
 2   to 18 U.S.C. 3161 (h)(8)(A) and (B)(iv) and Local Code T2 and T4.
 3
     DATED: July 7, 2009                                   Respectfully submitted,
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 5
                                                           /s/ Lindsay Anne Weston
 6                                                         _______________________________
                                                           LINDSAY ANNE WESTON
 7                                                         Counsel to Luciano Porcayo
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 9                                                         LAWRENCE BROWN
10
                                                           Acting United States Attorney

11                                                         /s/ Lindsay Weston for Samantha Spangler
                                                           per telephone authorization
12
                                                           __________________________________
13                                                         SAMANTHA S. SPANGLER
                                                           Assistant U.S. Attorney
14

15
                                           ORDER
16

17          GOOD CAUSE APPEARING, IT IS SO ORDERED.

18   DATED: July 7, 2009

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                                                           /s/ Edward J. Garcia
22                                                         EDWARD J. GARCIA, Judge
                                                           United States District Court
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